         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.10/03)
                          6/03) Judgment in a Civil Case



                                           United States District Court
                                                    Southern District of Georgia
                  VANESSA ANDERSON,
                  Individually and on Behalf
                  of a Class of Similarly
                  Situated Persons,                                                 JUDGMENT IN A CIVIL CASE
                              Plaintiff,

                                               V.                                 CASE NUMBER:        CV 119-008

                  WILCO LIFE INSURANCE COMPANY,

                             Defendant.




                     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                     has rendered its verdict.

                     Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                     rendered.

                     IT IS ORDERED AND ADJUDGED
                     that, in accordance with the Court's Order of August 13, 2020, Defendant's Motion to Dismiss

                     is GRANTED. All of Plaintiff's claims are dismissed with prejudice, and this civil action stands

                     CLOSED.




            08/13/2020                                                          John E. Triplett, Acting Clerk
           Date                                                                 Clerk



                                                                                (By) Deputy Clerk
GAS Rev 10/1/03
